Case 0:17-cv-60426-UU Document 404 Entered on FLSD Docket 01/07/2019 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

           Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  _______________________________________/

                                               ORDER

           THIS CAUSE comes before the Court sua sponte.

           On December 18, 2018, the Court issued an order regarding the procedure for notifying

  identified non-parties about potential unsealing. D.E. 384. In that order, the Court required the

  parties to file a list of discovery materials that had been designated confidential by a non-party.

  Id., p. 2. The parties filed that list and identified seven affected non-parties. Accordingly, it is

  hereby

           ORDERED AND ADJUDGED that by January 15, 2019, the parties SHALL report on

  the steps they have taken to effectuate notice upon the relevant non-parties as previously ordered.

  See D.E. 384, pp. 2–3.

           DONE AND ORDERED in Chambers at Miami, Florida, this _7th_ day of January,

  2019.



                                                       __________________________________
                                                        UNITED STATES DISTRICT JUDGE

  cc: counsel of record via cm/ecf
Case 0:17-cv-60426-UU Document 404 Entered on FLSD Docket 01/07/2019 Page 2 of 2
